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                            EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION


THOMAS ROSSLEY, JR.                              Civ. No. 4:16-cv-00623-RGE-SBJ

        Plaintiff,

vs.

DRAKE UNIVERSITY, DRAKE                          STIPULATION OF DISMISSAL
UNIVERSITY BOARD OF TRUSTEES,                    WITHOUT PREJUDICE

        Defendants.


        NOW COMES COUNSEL FOR THE PARTIES, who hereby stipulate and agree to

the DISMISSAL WITHOUT PREJUDICE of the portion of the Amended Complaint’s Count I

under the selective enforcement theory and the Amended Complaint’s Count III breach of

contract for Defendants’ failure to investigate Plaintiff’s allegation of sexual misconduct (the

remaining claims in the Amended Complaint after the Court’s Order re Defendants’ Summary

Judgment Motion entered October 12, 2018).

Dated: October 17, 2018

/s/ David H. Goldman                        /s/Philip A. Byler
David H. Goldman                            Philip A. Byler (pro hac vice)
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                                            ATTORNEYS FOR PLAINTIFF




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